Case 1:18-cV-21715-.]AL Document 1-2 Entered on FLSD Docket 04/30/2018 Page 1 of 10

EXhibit A

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Cmcurr ClvlL

CASE SUMMARY
CASE No. 2018-010351-CA-01

 

 

 

 

 

 

 

 

 

 

DeAdjua Snel_son § Location: Circuit Civil
vs § J udicial Ocher: (Section, CA 34)
Wal-Mart Stores East, LP d/b/a Wal-Mart #5671 § Fil`ed on: 03/30/2018
§ Sta,tc Case Number: 132018CA010351000001
§
CASE INFORMATlON
_ Discrimination - Employment
Case Type' or Other
Case Flags: Jury Trial
l DATE CASE AsslGNMENT
Current Case Assignment
Case Number 2018-01035 l -CA-Ol
Court , Circuit Civil
Date Assigned 03/30/2018
J udicial Officer (Section, CA 34)
PARTY INFORMAT[ON
Lead Attorneys
Plaintiff Snelson, DeAdjua Chad E Le_vy
l Retained
_ 954-763-5722(W)
Defendant Wal-Mart Stores East, LP d/b/a Wal-Mart #5671 _

DA'I`E EVENTS & ORDERS OF THE COURT INDEX
04/12/2018 Waivc[: Index # 4
03/30/2018 §B complaint mm # 2
03/30/2013 civil cover lndex # 1

DATE FINANCIAL lNFO_RMATION

Plaintiff Snelson, DeAdjua
Total Charges 401.00
Total Payments and Credits 401 .00

 

 

Balance Due as of 4/23/2018

PAGE 1 OF l

0.00

Printed on 04/23/2018 at l 1:04 AM

 

 

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FORM 1.997. ClVlL COVER SHEET

 

The civil cover sheet and the information contained in it neither replace nor supplement the nling and service of pleadings
or other documents as required by law. This form must be filed by the plaintiff or petitioner for me use of the Clerk of
Court for the purpose of reporting judicial workload data pursuant to section 25.075, F|orida Statutes. (See instructions for

 

 

completion.)
l. CASE STYLE
|N THE ClRCU|T COURT OF THE ELEVENTH JUD|C|AL ClRCU|T,
lN AND FOR MIAMI-DADE COUNTY, FLOR|DA
Case No.:
Judge:
DeAdjua Snelson
P|aintiff
vs.
Wal-Ma.rt Storc§ East, LP d/b/a Wal-Mart #5671
Defendant
||. `WPE OF CASE
g Non-homestead residential foreclosure
_ _[_] Condominium $250,00 or more
g Contracts and indebtedness § Oth€r real PrOPel’fy actions $O - $50.000
_l:]_ Eminent domainv g Other real property actions $50,001 - $249,999
_l:l_ Auto negligence g Other real property actions $250,000 or more
g Negligence - other _
l:l Business commence g Professiona| malpractice
l_:l_ Busine,55 tolls _Q Malpractioe - business
Q|_ EnvironmentallToxic tort g- Ma|p"actl°e " med'°a' l
_l_:l_ Third party indemniiicaticn § Ma|practioe - other professional
Q_ Constmction defect § Othe"
l_-_l Mass tort _l;l_ AntitrustITrade Regu|ation
E Negligent seculity g Business Transaction
ll Nul.sing home negligence g Circuit Civi| - Not Applimble
l:l premises liability _ commercial § Constitutional challenge-statute or
;|_ Premises liability - residential ordma.nc.e
l;l Products liability - g Constitutional challenge-proposed
amendment
§ Real Property/l\ilortgage foreclosure g Corporate Ti_usls l
g C-°mmerc{a| foreclosure $o ` $50'000 _E Discrimination-emp|oyment or other
g Commercia| foreclosure $50,001 - $249,999 g insurance claims
_Q Commercial foreclosure $250,000 or more g intellectual property
§ Homestead residential foreclosure $0 - 50,000 g l_lbel/Slander
§ ;l;`i;e;;i;ad residential foreclosure $50,001 - g Shareholder derivative action
E| Homestead residential foreclosure $250,000 or g Securmes m'gav°n
more v g Trade secrets
g Non-homestead residential foreclosure $0 ~ g T"ust "t'gat'°"
$50,000
g Non-homestead residential foreclosure

$50,001 - $249,999

 

 

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COMPLEX BUS|NESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Adminis`trative Onder. Yes § No §

lll. REMED|ES SOUGHT (check all that app|y):
§ Monetary;
§ Non-monetary declaratory or injunctive relief;
§ Punitive

iv. NuMBER oF cAusEs oF Ac110N: ( )
(Specify)

l

V. lS TH|S CASE A CLASS ACT|ON LAWSU|T?
§ Yes
No

Vl. HAS NOTICE OF ANY KNOWN RELATED CASE BEEN F|LED?

§ No
_El_ Yes - lf 'yes“ list all related cases by name, case number and oourt:

Vll. lS JUR¥ TR|AL DEMANDED lN COMPLAlNT?
§ Yes
§ No

 

| CERTlFY that the information l have provided in_ this cover sheet is accurate to the best of my knowledge and belief, and
that l have read and will comply with the requirements of F|orida Rule of Judicial Administration 2.425.

Signature s/ Chad E. Leyy FL Bar No.: 851701
Attomey or party (Bar number, if attorney)

Chad E. Leg 03/30/2018
(Type or print name) Date

 

 

 

__Gase-1:~18-ev-2-1-715-.]AL Document 1-2 Entered on FLSD Docl<et 04/30/2018 Page 5 of 10

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iN THE clRCUrr COURT oF THE
1 iTH JUDICIAL CIRCUIT lN AND
FoR MAI\n-DADE coUNTY, FLOR]DA
DE’ADJUA sNELsON, cASE No.:
Plainiiff,
VS.

WAL-MART STORES EAST, LP
d/b/a WAL-MART #5671,

Defendant
- /

go_Mri_LaIM
Plaintiff, DE’ADJUA SNELSON ("Plaintiff"), by and through her undersigned counsel,
sues Defendant, WAL-MART STORES EAST, LP d/b/a WAL-MART #5671, (“Defendant”),

and alleges as follows:

INTRODUCTION
l. This is a proceeding for damages to remedy discrimination on the basis of gender
affecting the terms, conditions and privileges of employment a'nd to redress the deprivation of
lights secured to Plaintiff` by the Florida Civil Rights Act of 1992, Florida Statutes §760, w
(“FCRA”).
JURISDICTION
2. Jurisdiction is invoked pursuant to the FCRA.

VENUE

 

3. The claims asserted herein arose in this judicial circuit

 

 

 

Case 1'1…“ neal/et 0/'/’10/9019 W

PARTIES

4. At all times material hereto, the Plaintiff was a female citizen of the United States,
resident of this judicial circuit and an employee or former employee of the Defendant

5. ` At all times material hereto, the Defendant was a Corporation doing business and
services in this judicial circuit, was the employer or former employer of the Plaintiff, and is an
employer as defined by the FCRA.

6. The Plaintiff has exhausted and fulfilled all conditions precedent to the institution
of this action pursuant to the FCRA.

STATEMENT OF FACTS

 

7. The Plaintiff was an employee of the Defendant, on August 10, 2015, as an Asset
Protection Associate and was a satisfactory employee for the Defendant '

8. Plaintiff is a homosexual female that dresses in men’s clothing

9. Based upon this atypical gender appearance, her supervisor had informed her that
she needed to change_her dress appearance, to which Plaintiff refused and condoned about her
duties.

10. Plaintiff experienced harassment from other employees as well. _ In fact, in
Octoberof 2016, Plaintiff began to have issues with two men she worked with in loss prevention

ll. She would hear them say things about her appearance and would report it to her
supervisor, who would just laugh it off.

12. Later that same month, on October 23, 2016, Plaintiff Was called into the office
and told that she was being let go for attendance

v 13. However, the policy states that a person is allowed 9 call cuts and she had only 8

call outs.

 

 

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14. Yet, Plaintiff s points for absences had been changed as October 13, 2016 had not
been previously been marked off, yet popped up atter Plaintiff had clocked out ll minutes early
on October 20, 2016 to avoid overtime

15. This clock out pushed Plaintiff over the top for the points policy, despite Plaintiff
still being within the rules,

COUNT I
FLORIDA CIVIL RIGHTS ACT OF 1992-GENDER CONFORMI'I'Y

Plaintiff incorporates by reference paragraphs 1 through 16 herein and states as follows: `

17 . The Defendant has discriminated against the Plaintiff in the terms and conditions
of her employment and has denied the Plaintiff continued employment because of her failure to
adhere to gender conformity

18. The unlawful discriminatory practices by the Defendant and its agents, as set forth
herein, violates The Florida Civil Rights Act of 1992.

19. As a direct and proximate result of the Defendant's unlawful and discriminatory
conduct, the Plaintiff has.and will continue to suffer damages

l WHEREFORE, the Plaintiff, DE’ADIUA SNELSON, requests that judgment be entered
against the Defendant for all damages recoverable under the Florida Civil Rights Act of 1992,
including punitive darnages, as well as costs, expenses, attorney fees and any other lawful relief
this Court deems to bejust and proper.
DEMAND FOR JURY TRIAL

The Plaintiff demands ajury trial.

 

 

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Dated: March 29, 2018.

Respectfully submitted,

Law Offices ofLevy & Levy, P.A.

1000 Sawgrass Corporate Parkway, Suite 588
Sunrise, Florida 33323

Telephone: (954) 763-5722

Facsimile: (954) 763 ~5723

Counselfor Plaintl_`j‘

/s/ChadLevv
cHAD E. LEVY, ESQ.

chad@leyyleyylaw.com
Secondary: assistan@leyyleglaw.com

F.B.N.: 0851701

lDAV]D M. COZAD, ESQ.

david@leglemlaw.com '
F.B.N.: 333920

 

 

 

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1 r“" Jui)iciAL ciRcuir rN AND
rca MiAMr-DAnr-: couNrY, Fi.oaiDA
DE’ADJUA sNELsoN, cAsE No.: 201 3~01035 i-cA-oi
Piaimirr, '

VS.

WAL~MART STORES EAS'I`, LP
d£b.>’a WAL-MAR'I` #567!,

Defendant
f

WAIVER OF SERVICE OF SUMMONS
TO: Chad E. chy, Esq. c

Law Ot`t`iccs of Levy & Levy, P.A.

1000 Sawgruss Corporate Park\vay

Suite 588

Sum'ise, F|orida 33323

l acknowledge receipt of your request that l waive service of a summons addressed to
WAL~MART STORE_S EAST, LP d/b.ia WAL-MAR'!` #5671, in the above styled case. 1 have
also received a copy of` the complaint in the action, two copies of this instrument, and a means by
which l can return the signed waiver to you without cost to me.

l agree to save the cost of service of a summons and an additional copy ofthc complaint
in this lawsuit by not requiring that l (or the entity on whose behalf l am acting) be served with
judicial process in the manner provided by Rule 1,070.

l (or the entity on whose behalf l am acting) will retain ali defenses or objections to the

lawsuit or to the jurisdiction or venue of the court except for objections based on _a defect in the

summons or in the service of the summons

 

 

 

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I understand that a judgment may be entered against me (or the party on whose behalf l
am acting) if a written response is not served upon you within 60 days from the date l received

the notice of lawsuit and request for waiver of service of process __

  
 

 

Pr?i>ii lQ QD{?)

Date ` ' __i" Signature v

Printcdi"typed name: .lonathan A. Beckerman. Esq.
Florida Bar No. 568252
Sarnantha DuntonvGallagher, Esq.
Fiorida Bar No. 105100
Littier Mendelson, P.C.
Weils Fargo Center
333 SE 2nd Avenue,. Suite 2700
Miami. FL 3313]

 

**' Duty to Avoid Unnecessary Costs of Service of Surnmons

Rule l.O?O(i) of the Florida Rules of Civil Procedure requires certain parties to cooperate
in saving unnecessary costs of service of the summons and complaint A defendant located in
the United States who, after being notified of an action and asked by a plaintiff located in the
United States to waive service of a summons, fails to do so will be required to bear the cost of
such service unless good cause be shown for its failure to sign and return the waiver.

lt is not good cause for failure to waive service that a party believes that the complaint is
unfounded, or that the action has been brought in an improper place or in a court that lacks
jurisdiction over the subject matter of the action or over its person or property. A party who
waives service of the summons retains all defenses and objections (except any relating to the
summons or the service of the summons), and may iater object to the jurisdiction of the court or
to the piece where the action has been brought.

. A defendant who waives service must within the time specified on the waiver form serve
on the plaintiffs attorney (or unrepresented piaintit`i) a response to the complaint and must also
file a signed copy of the response with the court. lf the answer or motion is not served within
this time, a default judgment may be taken against that defendant By waiving service, a
defendant is allowed more time to answer than if they summons had been actuaily served when
the request for waiver of service was received.

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